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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  CHARLESTON DIVISION

                                       MDL No. 2327
           In Re Ethicon Inc., Pelvic Repair System Products Liability Litigation
______________________________________________________________________________


   FIRST AMENDED MASTER LONG FORM COMPLAINT AND JURY DEMAND

       Plaintiffs, by and through counsel, bring this First Amended Master Long Form

Complaint (“First Amended Master Complaint”) as an administrative device to set forth potential

claims individual Plaintiffs may assert against Defendants in this litigation. By operation of the

Order of this Court, all allegations pled herein are deemed pled in any previously filed Complaint

and any Short-Form Complaint hereafter filed. Accordingly, Plaintiffs allege as follows:


                                           I. PARTIES

       A.      Plaintiffs

               1.      Plaintiffs include women who had one or more of Defendants’ Pelvic

Mesh Products (defined below) inserted in their bodies to treat medical conditions, primarily

pelvic organ prolapse and stress urinary incontinence.

               2.      Plaintiffs also include the spouses and intimate partners of the aforesaid

women, as well as others with standing to file claims arising from Defendants’ Products.

       B.      Defendants

               3.      Defendant, Johnson & Johnson (“J&J”) is a corporation, and according to

its website, the world’s largest and most diverse medical device and diagnostics company, with

its worldwide headquarters located at One Johnson & Johnson Plaza, New Brunswick, New

Jersey. Johnson & Johnson organizes its subsidiary businesses into individual Business Units to


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coordinate the development, manufacture, testing, marketing promotion, training, distribution

and sale of its’ pelvic floor repair products. Within J&J there are three sectors, medical devices

and diagnostics, pharmaceutical, and consumer. Within the medical devices and diagnostic

sector are “Business Units” including the “Ethicon Franchise.” The Ethicon Franchise was

charged by J&J with the design, development, promotion, marketing, testing, training,

distribution and sale of the pelvic floor repair products at issue in this case. The Company Group

Chairman and Worldwide Franchise Chairman for the Ethicon Franchise, Gary Pruden, is

employed by J&J. The companies which comprise the Ethicon Franchise are thus controlled by

J&J and include, but are not limited to, Ethicon Inc., Ethicon LLC, Ethicon LTD.

                4.      Defendant, Ethicon, Inc., is a wholly owned subsidiary of Defendant

Johnson & Johnson located in Somerville, New Jersey.

                5.      Defendant, Ethicon, LLC, is a wholly owned subsidiary of Johnson &

Johnson Medical, Inc., located in San Lorenzo, Puerto Rico. Ethicon LLC was charged by J&J

with the manufacture of Ethicon Inc.’s pelvic floor repair products.

                6.      Defendants, JOHN DOES 1-20 (fictitious names), are entities and/or

persons who are liable to Plaintiffs, but who have not yet been identified despite reasonable due

diligence on the part of Plaintiffs.

                7.      At all times relevant herein, Defendants were engaged in the business of

placing medical devices into the stream of commerce by designing, manufacturing, testing,

training, marketing, promoting, packaging, labeling, and/or selling such devices, including the

Prolene Mesh/Prolene Soft Mesh, Gynemesh, Gynemesh PS, TVT, TVT-Obturator (TVT-O),

TVT-SECUR (TVT-S), TVT Exact, TVT Abbrevo, Prolift, Prolift +M, Prosima and other pelvic

mesh products unknown at the present (hereinafter collectively referred to as “Pelvic Mesh



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Products” or the “Products”). Defendants manufacture, market, advertise, promote and sell

Pelvic Mesh Products worldwide. As a result of the coordinated activities of all Defendants

named above, Plaintiff was implanted with a defective pelvic floor repair product.

                8.       Defendants had a legal duty to insure the safety and effectiveness of their

pelvic mesh products by conducting adequate and well controlled studies on their products prior

to marketing. Defendants deliberately chose to manipulate the only studies that were conducted

on their products and by so doing provided doctors and patients with false and misleading

information about the safety and effectiveness of their pelvic mesh products. Furthermore,

Defendants made a conscious decision to forego performing studies and creating registries that

would have provided doctors and patients in the United States with accurate information

regarding the lack of proof of the safety and effectiveness of their pelvic mesh products.

                                  II. JURISDICTION AND VENUE

                9.       Federal subject matter jurisdiction in the constituent actions is based upon

28 U.S.C. § 1332(a), in that in each of the constituent actions there is complete diversity among

Plaintiffs and Defendants and the amount in controversy exceeds $75,000.

                10.      Defendants have significant contacts with the federal judicial district

identified in the Short Form Complaint such that they are subject to the personal jurisdiction of

the court in said district.

                11.      A substantial part of the events and omissions giving rise to Plaintiffs’

causes of action occurred in the federal judicial district identified in the Short Form Complaint.

Pursuant to 28 U.S.C. § 1391(a), venue is proper in said district.




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                        III. DEFENDANTS’ PELVIC MESH PRODUCTS

               12.     In or about October, 2002, Defendants began to manufacture, market and

sell a product known as Gynemesh, for the treatment of medical conditions in the female pelvis,

primarily pelvic organ prolapse and stress urinary incontinence. All references to Gynemesh

include all variations of or names used for Gynemesh, including but not limited to Gynemesh PS.

               13.     Gynemesh was derived from a product known as Prolene Mesh, which

was used in the treatment of medical conditions in the female pelvis, primarily pelvic organ

prolapse and stress urinary incontinence. Prolene Mesh was derived from Defendants’ Prolene

mesh hernia product, and was and is utilized in the treatment of medical conditions in the female

pelvis, primarily pelvic organ prolapse and stress urinary incontinence. All references to Prolene

Mesh include all variations of Prolene Mesh, including but not limited to Prolene Soft Mesh.

               14.     On or about January l, 2005, without seeking FDA clearance, the

Defendants began to market and sell a product known as the Prolift System, for the treatment of

medical conditions in the female pelvis, primarily pelvic organ prolapse and stress urinary

incontinence. The ProliftSystem was and is offered as an anterior, posterior, or total repair

system, and all references to the Prolift and/or Prolift System include by reference all variations.

               15.     On or about May, 2008, the Defendants began to market and sell a product

known as Prolift+M System, for the treatment of medical conditions in the female pelvis,

primarily pelvic organ prolapse and stress urinary incontinence. The Prolift+M System was and

is offered as an anterior, posterior, or total repair system, and all references to the Prolift+M

and/or Prolift +M System include by reference all variations.

               16.     On or about March 2010, Defendants began to market and sell a product

known as Prosima System, for the treatment of medical conditions in the female pelvis, primarily


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pelvic organ prolapse and stress urinary incontinence. The Prosima was and is offered as an

anterior, posterior, or total repair system, and all references to Prosima include by reference all

variations.

               17.     The Defendants market and sell a product known as TVT, for the

treatment of stress urinary incontinence in females. The TVT has been and is offered in multiple

and significant variations including, but not limited to, the TVT, TVT-Obturator (TVT-O), TVT-

SECUR (TVT-S), TVT Exact and TVT Abbrevo. All references to TVT include by reference all

variations.

               18.     As stated above, the products known as Prolene Mesh, Gynemesh, Prolift,

Prosima, Prolift+M, and TVT, as well as any as yet unidentified pelvic mesh products designed

and sold for similar purposes, inclusive of the instruments and procedures for implantation, are

collectively referenced herein as Defendants’ “Pelvic Mesh Products” or the “Products”.

               19.     Defendants’ Pelvic Mesh Products were designed, patented, manufactured,

labeled, marketed, sold and distributed by the Defendants, at all times relevant herein.

                                  IV. FACTUAL BACKGROUND

               20.     Surgical mesh products have been used to repair abdominal hernias since

the 1950s. In the 1970s, gynecologists began using surgical mesh products designed for hernia

repair for abdominal repair to surgically repair prolapsed organs. In the 1990s, gynecologists

began using this surgical mesh for the surgical treatment of pelvic organ prolapse (“POP”) and

stress urinary incontinence (“SUI”). Manufacturers, including Defendants, began to modify the

mesh used in hernia repair to be used as products specifically intended to correct POP an SUI.

Today, defendants sell pelvic mesh “kits” which can include not only the surgical mesh, but also




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tissue fixation anchors and insertion tools. The Products manufactured by Defendants are

considered Class II medical devices.

               21.     Defendants’ Pelvic Mesh Products are targeted for women who suffer

from pelvic organ prolapse and stress urinary incontinence as a result of the weakening or

damage caused to the walls of the vagina. These products are specifically promoted to physicians

and patients as an innovative, minimally invasive procedure with minimal local tissue reactions,

minimal tissue trauma and minimal pain while correcting vaginal prolapse, stress urinary

incontinence, pelvic organ prolapse and/or rectocele.

               22.     Moreover, these Pelvic Mesh Products contain polypropylene mesh.

Despite claims that this material is inert, the scientific evidence shows that this mesh material is

biologically incompatible with human tissue and promotes an immune response in a large subset

of the population receiving Defendants’ Pelvic Mesh Products. This immune response promotes

degradation of the polypropylene mesh, as well as the pelvic tissue, and can contribute to the

formation of severe adverse reactions to the mesh.

               23.     At various times, Defendants sought and obtained Food and Drug

Administration (“FDA”) clearance to market the Pelvic Mesh Products under Section 510(k) of

the Medical Device Amendment. Section 510(k) allows marketing of medical devices if the

device is deemed substantially equivalent to other legally marketed predicate devices marketed

prior to May 28, 1976. This clearance process did not require Defendants to prove the safety or

efficacy of the Pelvic Mesh Products and, thus, a formal review of the safety and efficacy of the

Pelvic Mesh Products was never conducted with regard to the Products. In the case of the Prolift

product, Defendants marketed and sold the product for human implantation for over two years

without the necessary clearance under Section 510(k)



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               24.     Defendants’ Pelvic Mesh Products have been and continue to be marketed

to the medical community and directly to patients as safe, effective, reliable, medical devices;

implanted by safe and effective, minimally invasive surgical techniques for the treatment of

medical conditions, primarily vaginal vault prolapse, stress urinary incontinence, pelvic organ

prolapse and/or rectocele, and as safer and more effective as compared to the traditional products

and procedures for treatment, and other competing Pelvic Mesh Products.

               25.     The Defendants have marketed and sold the Pelvic Mesh Products to the

medical community at large and directly to patients through carefully planned, multifaceted

marketing campaigns and strategies. These campaigns and strategies include, but are not limited

to, aggressive marketing to health care providers at medical conferences, hospitals, private

offices, and include the provision of valuable cash and non-cash benefits to health care providers.

Defendants also utilized documents, patient brochures, and websites, offering exaggerated and

misleading expectations as to the safety and utility of the Pelvic Mesh Products. Defendants’

further engaged in direct-to-consumer marketing specifically designed to drive consumers to

seek out these products for implantation into their bodies.

               26.     At all times relevant to this action, Defendants intentionally, recklessly

and/or negligently concealed, suppressed, omitted, and misrepresented the risks, dangers,

defects, and disadvantages of the Pelvic Mesh Products and advertised, promoted, marketed, sold

and distributed the Pelvic Mesh Products as a safe medical device when, in fact, Defendants

knew that the Pelvic Mesh Products were not safe for their intended purposes and that the Pelvic

Mesh Products would cause, and did cause, serious medical problems, and in some patients,

catastrophic and permanent injuries.




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                27.      For example, Defendants described in its Patient Brochures, Instructions

for Use, and other marketing materials, that the known complications for its Pelvic Mesh

Products were consistent with any surgical procedure of an implantable medical device and

described such occurrences as “rare” and “small” when in fact Defendants knew or should have

known that the complications were not “rare nor small” but common, permanent, and

debilitating.

                28.      Contrary to Defendants’ representations and marketing to the medical

community and to the patients themselves, the Defendants’ Pelvic Mesh Products have high

malfunction, failure, injury, and complication rates, fail to perform as intended, require frequent

and often debilitating re-operations, and have caused severe and irreversible injuries, conditions,

and damage to a significant number of women, including the Plaintiffs, making them defective

under the law. The Products’ defects include, but are not limited to, the following:

                      a. the use of polypropylene material in the mesh itself and the immune
                         reaction that results, causing adverse reactions and injuries;

                      b. in the case of the Prolift + M, the use of polypropylene in combination
                         with monocryl, a partially dissolvable mesh that increases the immune
                         reaction and inflammatory response;

                      c. the design of the Pelvic Mesh Products to be inserted transvaginally into
                         an area of the body with high levels of bacteria, yeast, and fungus that
                         adhere to the mesh causing immune reactions and subsequent tissue
                         breakdown and adverse reactions and injuries;

                      d. the procedure itself, which is a part of the Pelvic Mesh Products, requires
                         to the physician to insert the device “blindly,” resulting in nerve damage
                         and damage to other internal organs;

                      e. biomechanical issues with the design of the mesh that create strong
                         amounts of friction between the mesh and the underlying tissue that
                         subsequently cause that tissue to degrade resulting in injury;

                      f. the lack of porosity in the mesh resulting in the formation of a scar plate
                         that prohibits tissue in-growth, resulting in mesh contraction, nerve

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                       damage, pain, and erosion of the mesh into other organs, and failure of the
                       device;

                    g. the use and design of anchors in the Pelvic Mesh Products which when
                       placed correctly are likely to pass through and injure major nerve routes in
                       the pelvic region;

                    h. degradation of the mesh itself over time which causes the internal tissue to
                       degrade resulting in injury;

                    i. particle loss and or “shedding” of the mesh both during implantation and
                       following implantation that results in additional undesirable complications
                       including an increased inflammatory response and a migration of those
                       particles resulting in injury.

                    j. the welding and heating of the mesh itself during production which creates
                       a toxic substance that contributes to the degradation of the mesh and host
                       tissue alike;

                    k. the design of trocars, as devices to insert the Pelvic Mesh Products into the
                       vagina, are defective because the device requires tissue penetration in
                       nerve rich environments which results frequently in the destruction of
                       nerve endings causing pain and other injuries;

                    l. the propensity of the mesh for “creep”, or to gradually elongate and
                       deform when subject to prolonged tension inside the body;

                    m. the propensity of the mesh to contract, retract, and/or shrink inside the
                       body;

                    n. the inelasticity of the mesh, causing them to be improperly matted to the
                       delicate and sensitive areas of the vagina and pelvis where they are
                       implanted, and causing pain upon normal daily activities that involve
                       movement in the pelvic region (e.g., intercourse, defecation, walking); and

                    o. the creation of a non-anatomic condition in the pelvis leading to chronic
                       pain and functional disabilities when the mesh is implanting according to
                       the manufacturer’s instructions.


              29.      Upon information and belief, the Defendants have consistently

underreported and withheld information about the propensity of Defendants’ Pelvic Mesh

Products to fail and cause injury and complications, and have misrepresented the efficacy and



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safety of the Pelvic Mesh Products, through various means and media, actively and intentionally

misleading the FDA, the medical community, patients, and the public at large.

               30.    Defendants have further deliberately chosen to forego the conduct of

studies and registries to avoid reporting obligations that would be mandated under the federal

regulations upon receipt of adverse event information.

               31.    Despite the chronic underreporting of adverse events associated with the

Defendants’ Pelvic Mesh Products, the underreporting of events associated with similarly

designed competitor products, and Defendants’ deliberately avoiding the conduct of studies and

registries to avoid the reporting of adverse events, eventually enough complaints were recorded

for the FDA to issue a public health notification regarding the dangers of these devices.

               32.    On October 20, 2008, the Food and Drug Administration (“FDA”) issued

a Public Health Notification that described over 1,000 complaints (otherwise known as “adverse

events”) that had been reported over a three-year period relating to Pelvic Mesh Products.

Although the FDA notice did not identify the transvaginal mesh manufacturers by name, a

review of the FDA’s MAUDE database indicates that the Defendants are one of the

manufacturers of the Pelvic Mesh Products that are the subject of the notification.

               33.    On July 13, 2011, the FDA issued a Safety Communication:” UPDATE on

Serious Complications Associated with Transvaginal Placement of Surgical Mesh for Pelvic

Organ Prolapse." Therein, the FDA advised that it had conducted an updated analysis of adverse

events reported to the FDA and complications reported in the scientific literature and concluded

that surgical mesh used in transvaginal repair of Pelvic Organ Prolapse was an area of

"continuing serious concern." (emphasis added) The FDA concluded that serious complications

associated with surgical mesh for transvaginal repair of Pelvic Organ Prolapse, were “not rare.”



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These serious complications include, but are not limited to neuromuscular problems, vaginal

scarring/shrinkage and emotional problems. Many of the serious complications required medical

and surgical treatment and hospitalization.

                34.    The FDA concluded in its Safety Communication that it was not clear that

transvaginal repair of Pelvic Organ Prolapse with mesh or repair of SUI with mesh kits are more

effective than traditional non mesh repair of pelvic organ prolapse. Further, the FDA conducted a

systematic review of the published scientific literature from 1996-2011 and concluded that based

thereon, that transvaginal pelvic organ prolapse repair with mesh "does not improve symptomatic

results or quality of life over traditional non mesh repair." The FDA concluded that "a mesh

procedure may put the patient at risk for requiring additional surgery or for the development of

new complications. Removal of the mesh due to mesh complications may involve multiple

surgeries and significantly impair the patient's quality of life. Complete removal of mesh may not

be possible."

                35.    The information contained in the FDA's Public Health Notification of

October 2008 and the FDA Safety Communication of July 13 2011, was known or knowable to

Defendants and was not disclosed in oral or written communications, direct to consumer

advertising in the form of patient brochures, instructions for use, or labeling.

                36.    In fact, at the time Defendants began marketing each of its Pelvic Mesh

Products, Defendants were aware that its Pelvic Mesh Products were associated with each and

every one of the adverse events communicated by the FDA in its July 13, 2011 Safety

Communication.

                37.    In a December 2011 Joint Committee Opinion, the American College of

Obstetricians and Gynecologists (“ACOG”) and the American Urogynecologic Society



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(“AUGS”) also identified physical and mechanical changes to the mesh inside the body as a

serious complication associated with vaginal mesh, stating:

                     There are increasing reports of vaginal pain associated with changes that can
                     occur with mesh (contraction, retraction, or shrinkage) that result in taut
                     sections of mesh . . . Some of these women will require surgical intervention
                     to correct the condition, and some of the pain appears to be intractable.

               38.      Defendants knew or should have known about the Products’ risks and

complications identified in the FDA Safety Communication and the ACOG/AUGS Joint

Committee Opinion.

               39.      Defendants also knew or should have known that:         (1) some of the

predicate products for the Pelvic Mesh Products had high failure and complication rates,

resulting in the recall of some of these predicate devices (including a medical device known as

Protogen device); (2) that there were and are differences between the Defendants’ Pelvic Mesh

Products and some or all of the predicate products, rendering them unsuitable for designation as

predicate products; (3) that significant differences exist and existed between the Pelvic Mesh

Products and their predecessor and predicate products, such that the disclosures to the FDA were

and are incomplete and misleading; and (4) that the Pelvic Mesh Products were and are causing

numerous patients severe injuries and complications.

               40.      The Defendants suppressed this information and failed to accurately and

completely disseminate or share this and other critical information with the FDA, health care

providers, and the patients. As a result, the Defendants actively and intentionally misled and

continue to mislead the public, including the medical community, health care providers and

patients, into believing that the Pelvic Mesh Products and the procedures for implantation were

and are safe and effective, leading to the prescription for and implantation of the Pelvic Mesh

Products into Plaintiff.

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              41.      Defendants’ Pelvic Mesh Products are also defective due to Defendants’

failure to adequately warn or instruct the female Plaintiffs named in the Short Form Complaint

and/or her health care providers of risks and complications including, but not limited to, the

following:

                    a. the Products’ propensities to contract, retract, and/or shrink inside the
                       body;

                    b. the Products’ propensities for degradation, fragmentation and/or creep;

                    c. the Products’ inelasticity preventing proper mating with the pelvic floor
                       and vaginal region;

                    d. the Products’ lack of porosity in preventing proper mating with the pelvic
                       floor and vaginal region.

                    e. the rate and manner of mesh erosion or extrusion;

                    f. the risk of chronic inflammation resulting from the Products;

                    g. the risk of chronic infections resulting from the Products;

                    h. the risk of permanent vaginal or pelvic scarring as a result of the Products;

                    i. the risk of permanent vaginal shorting as a result of the Products;

                    j. the risk of recurrent, intractable pelvic pain and other pain resulting from
                       the Products;

                    k. the need for corrective or revision surgery to adjust or remove the
                       Products;

                    l. the severity of complications that could arise as a result of implantation of
                       the Products;

                    m. the hazards associated with the Products;

                    n. the Products’ defects described herein;

                    o. treatment of pelvic organ prolapse and stress urinary incontinence with the
                       Products is no more effective than feasible available alternatives;




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                     p. treatment of pelvic organ prolapse and stress urinary incontinence with the
                        Products exposes patients to greater risk than feasible available
                        alternatives;

                     q. treatment of pelvic organ prolapse and stress urinary incontinence with the
                        Products makes future surgical repair more difficult than feasible available
                        alternatives;

                     r. use of the Products puts the patient at greater risk of requiring additional
                        surgery than feasible available alternatives;

                     s. removal of the Products due to complications may involve multiple
                        surgeries and may significantly impair the patient’s quality of life; and

                     t. complete removal of the Products may not be possible and may not result
                        in complete resolution of the complications, including pain; and

                     u. the fact that neither pelvic organ prolapse, nor stress urinary incontinence,
                        are life threatening conditions, and that other options, including non-
                        surgical options, were available and superior alternatives to the use of the
                        Products.


               42.      Defendants also failed to perform or rely on proper and adequate testing

and research in order to determine and evaluate the risks and benefits of their Pelvic Mesh

Products.

               43.      Defendants failed to design and establish a safe, effective procedure for

removal of the Pelvic Mesh Products. Therefore, in the event of a failure, injury, or

complications, it is impossible to easily and safely remove the Pelvic Mesh Products.

               44.      Feasible and suitable alternative designs as well as suitable alternative

procedures and instruments for implantation have existed at all times relevant as compared to the

Defendants’ Pelvic Mesh Products.

               45.      The Pelvic Mesh Products were at all times utilized and implanted in a

manner foreseeable to the Defendants, as Defendants generated the instructions for use, created

the procedures for implanting the devices, and trained the implanting physicians.

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               46.    Furthermore, the Defendants provided incomplete, insufficient, and

misleading training and information to physicians, in order to increase the number of physicians

utilizing the Pelvic Mesh Products, and thus increase the sales of the Pelvic Mesh Products, and

also leading to the dissemination of inadequate and misleading information to patients, including

Plaintiff.

               47.    The Pelvic Mesh Products implanted into the Plaintiffs were in the same

or substantially similar condition as they were when they left the possession of Defendants, and

in the condition directed by and expected by the Defendants.

               48.    Plaintiffs and Plaintiffs’ physicians foreseeably used and implanted the

Pelvic Mesh Products, and did not misuse or alter the Pelvic Mesh Product in an unforeseeable

manner.

               49.    The injuries, conditions, and complications suffered by women who have

been implanted with Defendants’ Pelvic Mesh Products include, but are not limited to, mesh

erosion, mesh contraction, infection, fistula, inflammation, scar tissue, organ perforation,

dyspareunia (pain during sexual intercourse), inability to engage in sexual relations, urinary

problems, inability to void, blood loss, neuropathic and other acute and chronic nerve damage

and pain, pudendal nerve damage, shortening of the vagina, pelvic floor damage, chronic pelvic

pain, urinary and fecal incontinence, prolapse of organs, and in many cases the women have been

forced to undergo intensive medical treatment, including but not limited to, operations to locate

and remove mesh, operations to attempt to repair pelvic organs, tissue, and nerve damage, the

use of pain control and other medications, injections into various areas of the pelvis, spine, and

the vagina, and operations to remove portions of the female genitalia.




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                50.      The medical and scientific literature studying the effects of polypropylene

pelvic mesh, like Defendants’ Pelvic Mesh Products, have examined each of these injuries,

conditions, and complications and determined that they are in fact casually related to the mesh

itself and do not often implicate errors related to the implantation of the devices.

                51.      Defendants misrepresented to the medical and healthcare community,

Plaintiffs, the FDA, and the public that the Pelvic Mesh Products had been tested and were found

to be safe and effective for the purposes of treating incontinence and/or prolapse.

                52.      In the case of the Prolift device, Defendants misrepresented to the

Plaintiffs, to the Plaintiffs’ physicians, and to the medical community at large, that such product

had been properly cleared for marketing by the FDA when in fact no such clearance had been

sought or obtained.

                53.      These representations were made by Defendants with the intent of

inducing the medical community, Plaintiff, and the public, to recommend, prescribe, dispense,

and purchase the Pelvic Mesh Products for use as a means of treatment for stress urinary

incontinence and/or prolapse, all of which evinced an indifference to the health, safety, and

welfare of Plaintiff.

                54.      Defendants failed to undertake their duties to properly know the qualities

of their Pelvic Mesh Products and in representations to Plaintiffs and/or to Plaintiffs’ healthcare

providers, and concealed and intentionally omitted the following material information:

                      a. That the Pelvic Mesh Products were not as safe as other products and
                         procedures available to treat incontinence and/or prolapse;

                      b. That the Pelvic Mesh Products were not as effective as other products and
                         procedures available to treat incontinence and/or prolapsed;

                      c. That the risk of adverse events with the Pelvic Mesh Products was higher
                         than with other products and procedures available to treat incontinence

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                        and/or prolapse;

                     d. That the risk of adverse events with the Pelvic Mesh Products were not
                        adequately tested and were known by Defendants;

                     e. That the limited clinical testing revealed the Pelvic Mesh Products had a
                        higher risk of adverse effects, in addition to, and above and beyond those
                        associated with other products and procedures available to treat
                        incontinence and/or prolapse;

                     f. That Defendants failed to follow up on the adverse results from clinical
                        studies and buried and/or misrepresented those findings;

                     g. That Defendants were aware of dangers in the Pelvic Mesh Products in
                        addition to and above and beyond those associated with other products and
                        procedures available to treat incontinence and/or prolapse;

                     h. That the Pelvic Mesh Products were dangerous and caused adverse side
                        effects, including but not limited to higher incidence of erosion and
                        failure, at a much more significant rate than other products and procedures
                        available to treat incontinence and/or prolapse;

                     i. That patients needed to be monitored more regularly than usual while
                        using the Pelvic Mesh Products and that in the event the Pelvic Mesh
                        Products needed to be removed that the procedures to remove them had a
                        very high failure rate and/or needed to be performed repeatedly; Thus:

                     j. That the Pelvic Mesh Products were manufactured negligently;

                     k. That the Pelvic Mesh Products were manufactured defectively; and

                     l. That the Pelvic Mesh Products were designed negligently, and designed
                        defectively.

               55.      Defendants were under a duty to disclose to Plaintiffs and Plaintiffs’

physicians, the defective nature of the Pelvic Mesh Products, including, but not limited to, the

heightened risks of erosion, failure and permanent injury.

               56.      Defendants had sole access to material facts concerning the defective

nature of the Pelvic Mesh Products and their propensity to cause serious and dangerous side




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effects and hence, cause dangerous injuries and damage to persons who used the Pelvic Mesh

Products.

               57.    Defendants’ concealment and omissions of material fact concerning the

safety of the Pelvic Mesh Products were made to cause the Plaintiffs, the Plaintiffs’ physicians

and healthcare providers to purchase, prescribe, and/or dispense the Pelvic Mesh Products;

and/or to mislead Plaintiffs and Plaintiffs’ physicians into reliance and cause Plaintiffs to have

the Pelvic Mesh Products implanted into their bodies.

               58.    At the time these representations were made by Defendants, and at the

time Plaintiffs used the Pelvic Mesh Products, Plaintiffs were unaware of the falsehood of these

representations, and reasonably believed them to be true.

               59.    Defendants knew and had reason to know that the Pelvic Mesh Products

could and would cause severe and grievous personal injury to the users of the Pelvic Mesh

Products, and that they were inherently dangerous in a manner that exceeded any purported,

inaccurate, or otherwise downplayed warnings.

               60.    In reliance upon these false representations, Plaintiffs were induced to, and

did use the Pelvic Mesh Products, thereby sustaining severe and permanent personal injuries and

damages. Defendants knew or had reason to know that Plaintiffs and Plaintiffs’ physicians and

other healthcare providers had no way to determine the truth behind Defendants’ concealment

and omissions, and that these included material omissions of facts surrounding the use of the

Pelvic Mesh Products, as described in detail herein.

               61.    As a result of Defendants’ research and testing or lack thereof, Defendants

distributed false information, including but not limited to assuring Plaintiffs, the public, and

Plaintiffs’ healthcare providers and physicians, that the Pelvic Mesh Products were safe for use



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as a means of providing relief from stress urinary incontinence and/or prolapse and were as safe

or safer than other products and/or procedures available and on the market. Further, Defendants

misrepresented to the Plaintiffs and to the Plaintiffs’ physicians that the Pelvic Mesh Products

were more effective than other means of treatment for these conditions for which they were

implanted.    As a result of Defendants’ research and testing, or lack thereof, Defendants

intentionally omitted, concealed and suppressed certain results of testing and research to

healthcare professionals, Plaintiffs, and the public at large.

               62.     Defendants had a duty when disseminating information to the public to

disseminate truthful information and a parallel duty not to deceive the public, Plaintiffs,

Plaintiffs’ healthcare providers, and the FDA.

               63.     The information distributed to the public, the medical community, the

FDA, and Plaintiffs by Defendants included, but was not limited to, reports, press releases,

advertising campaigns, television commercials, print advertisements, billboards and other

commercial media containing material representations, which were false and misleading, and

contained omissions and concealment of the truth about the dangers of the use of the Pelvic

Mesh Products.

               64.     Defendants intentionally made material misrepresentations to the medical

community and public, including Plaintiffs, regarding the safety of the Pelvic Mesh Products

specifically, that the Pelvic Mesh Products did not have dangerous and/or serious adverse health

safety concerns, and that the Pelvic Mesh Products were as safe as other means of treating

vaginal vault prolapse, stress urinary incontinence, pelvic organ prolapse or rectocele.




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               65.    Defendants intentionally failed to inform the public, including Plaintiffs,

of the high failure rate including erosion, the difficulty of removing the mesh, and the risk of

permanent injury.

               66.    Defendants chose to over-promote the safety, efficacy and benefits of the

Pelvic Mesh Products instead.

               67.    Defendants’ intent and purpose in making these misrepresentations was to

deceive the public, the medical community, and Plaintiffs; to gain the confidence of the public,

the medical community, and Plaintiffs; to falsely assure them of the quality and fitness for use of

the Pelvic Mesh Products; and induce Plaintiffs, the public and the medical community to

request, recommend, prescribe, dispense, purchase, and continue to use the Pelvic Mesh

Products.

               68.    Upon information and belief, Defendants made claims and representations

in its documents submitted to the FDA and its reports to the public and to healthcare

professionals and in advertisements that the Pelvic Mesh Products did not present serious health

risks.

               69.    These representations, and others made by Defendants, were false when

made and/or were made with the pretense of actual knowledge when such knowledge did not

actually exist, and were made recklessly and without regard to the true facts.

               70.    These representations, and others made by Defendants, were made with

the intention of deceiving Plaintiffs, Plaintiffs’ healthcare professionals and other members of

the healthcare community, and were made in order to induce Plaintiffs, and Plaintiffs’ healthcare

professionals, to rely on misrepresentations, and caused Plaintiffs to purchase, rely, use, and




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request the Pelvic Mesh Products, and caused her healthcare professionals to dispense,

recommend, or prescribe the Pelvic Mesh Products.

               71.     Defendants recklessly and/or intentionally falsely represented the

dangerous and serious health and safety concerns inherent in the use of the Pelvic Mesh Products

to the public at large, for the purpose of influencing the sales of Pelvic Mesh Products known to

be dangerous and defective, and/or not as safe as other alternatives. Defendants utilized direct-to-

consumer advertising to market, promote, and advertise the Pelvic Mesh Products.

               72.     At the time the representations were made, Plaintiffs and Plaintiffs’

healthcare providers did not know the truth about the dangers and serious health and/or safety

risks inherent in the use of the Pelvic Mesh Products. Plaintiffs did not discover the true facts

about the dangers and serious health and/or safety risks, nor did Plaintiffs discover the false

representations of Defendants, nor would Plaintiffs with reasonable diligence have discovered

the true facts or Defendants’ misrepresentations.

               73.     Had Plaintiffs known the true facts about the dangers and serious health

and/or safety risks of the Pelvic Mesh Products, or in the case of the Prolift System, that the

Defendants had not sought nor obtained FDA clearance for the product, Plaintiffs would not

have purchased, used, or relied on Defendants’ Pelvic Mesh Products.

               74.     At all times relevant herein, the Pelvic Mesh Products were widely

advertised and promoted by the Defendants as a safe and effective treatment for vaginal vault

prolapse, stress urinary incontinence, pelvic organ prolapse or rectocele. Defendants minimized

the risks posed to rectocele and vaginal prolapse patients with implantation of the Pelvic Mesh

Products.




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               75.     At all times relevant to this action, Defendants knew that the Pelvic Mesh

Products were not safe for the patients for whom they were prescribed and implanted, because

the mesh eroded and otherwise malfunctioned, and therefore failed to operate in a safe and

continuous manner, causing injuries including, but not limited to, erosion, extrusion, infection,

sepsis, chronic foreign body invasion, dense adhesions and worsening dyspareunia. Removal of

eroded or infected mesh brings a high rate of life-threatening complications including permanent

disfigurement and hemorrhage. Removal can require multiple surgical interventions in the

operating theater for complete removal and results in scarring on fragile compromised pelvic

tissue and muscles.

               76.     Defendants failed to design and establish a safe, effective procedure for

removal of the Products, or to determine if a safe, effective procedure for removal of the

Products exists.

               77.     At all relevant times herein, Defendants continued to promote Pelvic Mesh

Products as safe and effective even when no clinical trials had been done supporting long or

short term efficacy.

               78.     In doing so the Defendants concealed the known risks and failed to warn

of known or scientifically knowable dangers and risks associated with the Pelvic Mesh Products

for treatment of vaginal vault prolapse, stress urinary incontinence, pelvic organ prolapse or

rectocele.

               79.     At all relevant times herein, Defendants failed to provide sufficient

warnings and instructions that would have put Plaintiffs and the general public on notice of the

dangers and adverse effects caused by implantation of the Pelvic Mesh Products system




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including, but not limited to, mesh erosion, dense adhesions, worsening dyspareunia, chronic

pain, infection, sepsis, permanent disfigurement and multiple surgeries for mesh removal.

                80.     The Pelvic Mesh Products as designed, manufactured, distributed sold

and/or supplied by Defendants were defective as marketed due to inadequate warnings,

instructions, labeling and/or inadequate testing in the presence of Defendants’ knowledge of lack

of pelvic health safety.

                81.     At all times herein mentioned, the employees, agents, officers and/or

directors of the Defendants named herein participated in, authorized and/or directed the

production and promotion of the aforementioned Pelvic Mesh Products when they knew of the

hazards and dangerous propensities of said Pelvic Mesh Products, and thereby actively

participated in the tortuous conduct that resulted in the injuries suffered by Plaintiffs.

                                V. FRAUDULENT CONCEALMENT

                82.     Defendants’ failure to document or follow up on the known defects in its

product, and concealment of known defects, constitutes fraudulent concealment that equitably

tolls applicable statutes of limitation.

                83.     Defendants are estopped from relying on the statute of limitations defense

because Defendants actively concealed the defects, suppressing reports, failing to follow through

on FDA notification requirements, and failing to disclose known defects to physicians. Instead of

revealing the defects, Defendants continued to represent its Pelvic Mesh Products as safe for

their intended use.

                84.     Defendants are and were under a continuing duty to disclose the true

character, quality, and nature of risks and dangers associated with their Pelvic Mesh Products.




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Because of Defendants’ concealment of the true character, quality and nature of their Pelvic

Mesh Products, Defendants are estopped from relying on any statute of limitations defense.

               85.       Defendants furthered this fraudulent concealment through a continued and

systematic failure to disclose information to Plaintiffs, physicians and the public.

               86.       Defendants’ acts before, during and/or after the act causing Plaintiffs’

injury prevented Plaintiffs from discovering the injury or cause thereof.

               87.       Defendants’ conduct, as described in the preceding paragraphs, amounts to

conduct purposely committed, which Defendants must have realized was dangerous, heedless

and reckless, without regard to the consequences or the rights and safety of Plaintiffs.

               88.       Defendants’ conduct, as described in the preceding paragraphs, also

amounts to a continuing tort, and continues up through and including the date of the filing of

Plaintiffs’ Complaint.

                                      VI. CAUSES OF ACTION

                                    COUNT I: NEGLIGENCE

               89.       Paragraphs 1-88 of the First Amended Master Complaint are hereby

incorporated by reference as if fully set forth herein.

               90.       Defendants had a duty to individuals, including Plaintiffs, to exercise

reasonable and ordinary care in the manufacture, design, labeling, packaging, testing, instruction,

warning, selling, marketing, distribution, and training related to its Pelvic Mesh Products.

               91.       Defendants breached their duty of care and were negligent as described

herein in the design, manufacture, labeling, warning, instruction, training, selling, marketing, and

distribution of the Pelvic Mesh Products in one or more of the following respects:

                     a. Failing to design the Products so as to avoid an unreasonable risk of harm
                        to women in whom the Products were implanted, including Plaintiffs;

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                 b. Failing to manufacture the Products so as to avoid an unreasonable risk of
                    harm to women in whom the Products were implanted, including
                    Plaintiffs;

                 c. Failing to use reasonable care in the testing of the Products so as to avoid
                    an unreasonable risk of harm to women in whom the Products were
                    implanted, including Plaintiffs;

                 d. Failing to use reasonable care in inspecting the Products so as to avoid
                    unreasonable risk of harm to women in whom the Products were
                    implanted, including Plaintiffs;

                 e. Failing to use reasonable care in training its employees and health care
                    providers related to the use of the Products so as to avoid unreasonable
                    risk of harm to women in whom the Products were implanted, including
                    Plaintiffs;

                 f. Failing to use reasonable care in instructing and/or warning health care
                    providers, the FDA and the public as set forth herein of risks associated
                    with the Products, so as to avoid unreasonable risk of harm to women in
                    whom the Products were implanted, including Plaintiffs;

                 g. Failing to use reasonable care in marketing and promoting the Products, so
                    as to avoid unreasonable risk of harm to women in whom the Products
                    were implanted, including Plaintiffs;

                 h. In negligently and carelessly promoting the use of the Pelvic Mesh
                    Products to physicians who had not received sufficient training to master
                    the techniques necessary for implantation of the device into the Plaintiffs;

                 i. Otherwise negligently or carelessly designing, manufacturing, marketing,
                    distributing, warning, labeling studying, testing or selling the Pelvic Mesh
                    Products, and;

                 j. In the case of the Prolift System, failing to use reasonable care in seeking
                    and obtaining FDA clearance prior to marketing and selling the device for
                    implantation into the human body.

           92.      Failed to conduct post-market vigilance, or surveillance, by:

                 a. Monitoring or acting on findings in the scientific and medical literature;
                    and




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                     b. Monitoring or investigating and evaluating reports in the FDA adverse
                        event databases for their potential significance for defendants’ Pelvic
                        Mesh Products.

               93.      Failed to comply with manufacturer requirements of the Medical Device

Reporting (MDR) Regulations, specifically:

                     a. Failed to report MDRs (Medical Device [adverse event] Reports); and

                     b. Failed to investigate reports of serious adverse events.

               94.      As a direct and proximate result of Defendants’ negligence, Plaintiffs have

been injured, often catastrophically, sustained severe and permanent pain, suffering, disability,

impairment, loss of enjoyment of life, loss of care, comfort, and consortium, economic loss and

damages including, but not limited to medical expenses, lost income, other damages, and/or

death.

         WHEREFORE, Plaintiffs demand judgment against Defendants, and each of them,

individually, jointly, severally and in the alternative, and requests compensatory damages,

punitive damages, together with interest, costs of suit, attorneys’ fees, and such further relief as

the Court deems equitable and just.

                                             COUNT II

                     STRICT LIABILITY – MANUFACTURING DEFECT

               95.      Paragraphs 1-94 of the First Amended Master Complaint are hereby

incorporated by reference as if fully set forth herein.

               96.      The Pelvic Mesh Product implanted in Plaintiffs was not reasonably safe

for its intended use and was defective with respect to its manufacture, as described herein, in that

Defendants deviated materially from their design and manufacturing specifications and/or such




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design and manufacture posed an unreasonable risk of harm to Plaintiffs in whom the Pelvic

Mesh Products were implanted.

               97.       The Defendants’ Pelvic Mesh Products are inherently dangerous and

defective, unfit and unsafe for their intended and reasonably foreseeable uses, and do not meet or

perform to the expectations of patients and their health care providers.

               98.       The Pelvic Mesh Products create risks to the health and safety of the

patients that are far more significant and devastating than the risks posed by other products and

procedures available to treat the corresponding medical conditions, and which far outweigh the

utility of the Pelvic Mesh Products.

               99.       Defendants have intentionally and recklessly manufactured, the Pelvic

Mesh Products with wanton and willful disregard for the rights and health of the Plaintiffs and

others, and with malice, placing their economic interests above the health and safety of the

Plaintiffs and others.

               100.      As a direct and proximate result of the Defendants’ defective manufacture

of the Pelvic Mesh Products, Plaintiffs have been injured, often catastrophically, sustained severe

and permanent pain, suffering, disability, impairment, loss of enjoyment of life, loss of care,

comfort, and consortium, economic loss and damages including, but not limited to medical

expenses, lost income, other damages, and/or death.

               101.      The Defendants are strictly liable in tort to the Plaintiffs for their wrongful

conduct.

       WHEREFORE, Plaintiffs demand judgment against Defendants of compensatory

damages, punitive damages, interest, attorneys’ fees, costs of suit, and such further relief as the

Court deems equitable and just.



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                                            COUNT III

                         STRICT LIABILITY – FAILURE TO WARN


               102.     Paragraphs 1-101 of the First Amended Master Complaint are hereby

incorporated by reference as if fully set forth herein.

               103.     The Defendants failed to properly and adequately warn and instruct the

Plaintiffs and their health care providers as to the proper candidates, and the safest and most

effective methods of implantation and use of the Defendants’ Pelvic Mesh Products.

               104.     The Defendants failed to properly and adequately warn and instruct the

Plaintiffs and their health care providers as to the risks and benefits of the Defendants’ Pelvic

Mesh Products, given the Plaintiffs’ conditions and need for information.

               105.     The Defendants failed to properly and adequately warn and instruct the

Plaintiffs and their health care providers with regard to the inadequate research and testing of the

Pelvic Mesh Products, and the complete lack of a safe, effective procedure for removal of the

Pelvic Mesh Products.

               106.     In addition, the Pelvic Mesh Products were defective due to the lack of

necessary and appropriate warnings regarding, but not limited to, the following:

                   a. the Products’ propensities to contract, retract, and/or shrink inside the
                      body;

                   b. the Products’ propensities for degradation, fragmentation, disintegration
                      and/or creep;

                   c. the Products’ inelasticity preventing proper mating with the pelvic floor
                      and vaginal region;

                   d. the rate and manner of mesh erosion or extrusion;

                   e. the risk of chronic inflammation resulting from the Products;



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                    f. the risk of chronic infections resulting from the Products;

                    g. the risk of permanent vaginal or pelvic scarring as a result of the Products;

                    h. the risk of recurrent, intractable pelvic pain and other pain resulting from
                       the Products;

                    i. the need for corrective or revision surgery to adjust or remove the
                       Products;

                    j. the severity of complications that could arise as a result of implantation of
                       the Products;

                    k. the hazards associated with the Products;

                    l. the Products’ defects described herein;

                    m. treatment of pelvic organ prolapse and stress urinary incontinence with the
                       Products is no more effective than feasible available alternatives;

                    n. treatment of pelvic organ prolapse and stress urinary incontinence with the
                       Products exposes patients to greater risk than feasible available
                       alternatives;

                    o. treatment of pelvic organ prolapse and stress urinary incontinence with the
                       Products makes future surgical repair more difficult than feasible available
                       alternatives;

                    p. use of the Products puts the patient at greater risk of requiring additional
                       surgery than feasible available alternatives;

                    q. removal of the Products due to complications may involve multiple
                       surgeries and may significantly impair the patient’s quality of life; and

                    r. complete removal of the Products may not be possible and may not result
                       in complete resolution of the complications, including pain.


                107.    The Defendants intentionally, recklessly, and maliciously misrepresented

the safety, risks, and benefits of the Defendants’ Pelvic Mesh Products, understating the risks

and exaggerating the benefits in order to advance their own financial interests, with wanton and

willful disregard for the rights and health of the Plaintiffs.



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                  108.   As a direct and proximate result of the Pelvic Mesh Products’

aforementioned defects, Plaintiffs have been injured, often catastrophically, sustained severe and

permanent pain, suffering, disability, impairment, loss of enjoyment of life, loss of care, comfort,

and consortium, economic loss and damages including, but not limited to medical expenses, lost

income, other damages, and/or death.

                  109.   The Defendants are strictly liable in tort to the Plaintiffs for their wrongful

conduct.

       WHEREFORE, Plaintiffs demand judgment against Defendants of compensatory

damages, punitive damages, interest, attorneys’ fees, costs of suit, and such further relief as the

Court deems equitable and just.

                                              COUNT IV

                         STRICT LIABILITY – DEFECTIVE PRODUCT

                  110.   Paragraphs 1-109 of the First Amended Master Complaint are hereby

incorporated by reference as if fully set forth herein. At the time of Plaintiffs’’ injuries, the

Defendants’ Pelvic Mesh Products were defective and unreasonably dangerous to foreseeable

consumers, patients, and users, including Plaintiffs, and the warnings labels, and instructions

were deficient.

                  111.   The Defendants’ Pelvic Mesh Products are inherently dangerous and

defective, unfit and unsafe for their intended and reasonably foreseeable uses, and do not meet or

perform to the expectations of patients and their health care providers.

                  112.   Plaintiffs from Alaska, Arizona, California, District of Columbia, Florida,

Hawaii, Illinois, Iowa, Maryland, Massachusetts, Minnesota, Missouri, Nebraska, Nevada, New

Hampshire, Minnesota, New Mexico, New York, North Dakota, Oklahoma, Oregon, Rhode

Island, Utah, Vermont, Washington, D.C., West Virginia, Wisconsin, Wyoming and such other

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states where the common law, the Restatement of Torts (Second) and/or the Restatement of Torts

(Third) are adopted, bring strict product liability claims under the common law, Section 402A of

the Restatement of Torts (Second), and/or Restatement of Torts (Third)) against Defendants.

               113.    Plaintiffs from jurisdictions that provide a statutory cause of action for

strict liability assert each of these claims against Defendants.

               114.    As a proximate result of the Defendants’ design, manufacture, marketing,

sale, and distribution of the Pelvic Mesh Products, Plaintiffs have been injured, often

catastrophically, and sustained severe and permanent pain, suffering, disability, impairment, loss

of enjoyment of life, loss of care, comfort, and consortium, economic damages, and death.

       WHEREFORE, Plaintiffs demand judgment against Defendants, and each of them,

individually, jointly, severally and in the alternative, and requests compensatory damages,

punitive damages, together with interest, costs of suit, attorneys’ fees, and such further relief as

the Court deems equitable and just.

                                             COUNT V
                           STRICT LIABILITY – DESIGN DEFECT


               115.    Plaintiffs incorporate by reference paragraphs 1-114 of this First Amended

Master Complaint as if fully set forth herein.

               116.    The Pelvic Mesh Product implanted in Plaintiffs was not reasonably safe

for its intended use and was defective as described herein with respect to its design. As

previously stated, the Products’ design defects include, but are not limited to:

                       a. the use of polypropylene material and/or collagen material in the
                          Products and the immune reaction that results from such material,
                          causing adverse reactions and injuries;

                       b. the design of the Products to be inserted into and through an area of
                          the body with high levels of bacteria that adhere to the mesh causing

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                         immune reactions and subsequent tissue breakdown and adverse
                         reactions and injuries;

                      c. biomechanical issues with the design of the Products, including, but
                         not limited to, the propensity of the Products to contract or shrink
                         inside the body, that in turn cause surrounding tissue to be inflamed,
                         become fibrotic, and contract, resulting in injury;

                      d. the use and design of arms and anchors in the Products, which, when
                         placed in the women, are likely to pass through contaminated spaces
                         and injure major nerve routes in the pelvic region;

                      e. the propensity of the Products for “creep,” or to gradually elongate and
                         deform when subject to prolonged tension inside the body;

                      f. the inelasticity of the Products, causing them to be improperly mated
                         to the delicate and sensitive areas of the pelvis where they are
                         implanted, and causing pain upon normal daily activities that involve
                         movement in the pelvis (e.g., intercourse, defecation);

                      g. the propensity of the Products for degradation or fragmentation over
                         time, which causes a chronic inflammatory and fibrotic reaction, and
                         results in continuing injury over time;

                      h. the propensity of the Products for particle loss or “shedding”, which
                         causes a chronic inflammatory response and fibrotic reaction, and
                         results in continuing injury over time; the lack of porosity of the
                         Products, which leads to fibrotic bridging and results in continuing
                         injury over time; and

                      i. the creation of a non-anatomic condition in the pelvis leading to
                         chronic pain and functional disabilities when the mesh is implanting
                         according to the manufacturers' instructions.


              117.    As a direct and proximate result of the Product’s aforementioned defects

as described herein, Plaintiffs experienced significant mental and physical pain and suffering,

have sustained permanent injury, have undergone medical treatment and will likely undergo

future medical treatment and procedures, has suffered financial or economic loss, including, but

not limited to, obligations for medical services and expenses, lost income, other damages, and

death.

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               118.    Defendants are strictly liable to Plaintiffs for designing a defective

product.

       WHEREFORE, Plaintiffs demand judgment against Defendants, and each of them,

individually, jointly, severally and in the alternative, and requests compensatory damages,

punitive damages, together with interest, costs of suit, attorneys’ fees, and such further relief as

the Court deems equitable and just.

                                           COUNT VI

                                   COMMON LAW FRAUD

               119.    Plaintiffs incorporate by reference paragraphs 1-118 of this First Amended

Master Complaint as if fully set forth herein.

               120.    Defendants falsely and fraudulently represented and continue to represent

to the medical and healthcare community, Plaintiffs, and the public that the Pelvic Mesh

Products had been tested and were found to be safe and effective.

               121.    The representations made by Defendants were, in fact, false. When

Defendants made their representations, Defendants knew and/or had reason to know that those

representations were false, and Defendants willfully, wantonly, and recklessly disregarded the

inaccuracies in their representations and the dangers and health risks to users of the Pelvic Mesh

Products.

               122.    These representations were made by Defendants with the intent of

defrauding and deceiving the medical community, Plaintiffs, and the public, and also inducing

the medical community, Plaintiffs, and the public, to recommend, prescribe, dispense, and

purchase the Pelvic Mesh Products for use as a means of treatment for stress urinary




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incontinence and/or prolapse, all of which evinced a callous, reckless, willful, and depraved

indifference to the health, safety, and welfare of Plaintiffs.

               123.    In representations to Plaintiffs and/or to Plaintiffs’ healthcare providers,

Defendants fraudulently concealed and intentionally or recklessly omitted the following material

information:

                       a) That the Defendants’ Pelvic Mesh Products were not as safe as other
                          products and procedures available to treat incontinence and/or
                          prolapse;

                       b) That the Defendants’ Pelvic Mesh Products were more effective than
                          other products and procedures available to treat incontinence and/or
                          prolapse;

                       c) That the risk of adverse events with the Defendants’ Pelvic Mesh
                          Products was higher than with other products and procedures available
                          to treat incontinence and/or prolapse;

                       d) The Defendants’ Pelvic Mesh Products were not adequately tested;

                       e) That the limited clinical testing revealed the Defendants’ Pelvic Mesh
                          Products had a higher risk of adverse effects, in addition to, and above
                          and beyond those associated with other products and procedures
                          available to treat incontinence and/or prolapse;

                       f) That Defendants deliberately failed to follow up on the adverse results
                          from clinical studies and formal and informal reports from physicians
                          and other healthcare providers and buried and/or misrepresented those
                          findings;

                       g) That Defendants deliberately chose to forego studies that might reveal
                          the true rate of adverse events or otherwise necessitate the need to
                          reveal information as to adverse events to the Plaintiff, the medical
                          community, or the regulatory authorities;

                       h) That Defendants were aware of dangers in the Defendants’ Pelvic
                          Mesh Products in addition to and above and beyond those associated
                          with other products and procedures available to treat incontinence
                          and/or prolapse;

                       i) That the Defendants’ Pelvic Mesh Products were defective, and that
                          they caused dangerous and adverse side effects, including but not

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                          limited to higher incidence of erosion and failure, at a much more
                          significant rate than other products and procedures available to treat
                          incontinence and/or prolapse;

                       j) That patients needed to be monitored more regularly than usual while
                          using the Defendants’ Pelvic Mesh Products and that in the event the
                          products needed to be removed that the procedures to remove them
                          had a very high failure rate and/or needed to be performed repeatedly;

                       k) That the Defendants’ Pelvic Mesh Products were manufactured
                          negligently;

                       l) That the Defendants’ Pelvic Mesh Products were manufactured
                          defectively;

                       m) That the Defendants’ Pelvic Mesh Products were designed negligently,
                          and designed defectively; and

                       n) In the case of the Prolift System, that the Defendants’ had not sought
                          nor obtained FDA clearance at the time it began marketing and selling
                          the product.


               124.    Defendants were under a duty to disclose to Plaintiffs and their physicians,

the defective nature of the Defendants’ Pelvic Mesh Products, including, but not limited to, the

heightened risks of erosion, failure, and permanent injury.

               125.    Defendants had sole access to material facts concerning the defective

nature of the products and their propensity to cause serious and dangerous side effects and hence,

cause dangerous injuries and damage to persons who used the Defendants’ Pelvic Mesh

Products.

               126.    Defendants’ concealment and omissions of material fact concerning the

safety of the Products were made purposefully, willfully, wantonly, and/or recklessly to mislead,

to cause Plaintiffs’ physicians and healthcare providers to purchase, prescribe, and/or dispense

the Pelvic Mesh Products; and/or to mislead Plaintiffs into reliance and cause Plaintiffs to use the

Defendants’ Pelvic Mesh Products.

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               127.    At the time these representations were made by Defendants, and at the

time Plaintiffs used the Pelvic Mesh Products, Plaintiffs were unaware of the falsehood of these

representations, and reasonably believed them to be true.

               128.    Defendants knew and had reason to know that the Defendants’ Pelvic

Mesh Products could and would cause severe and grievous personal injury to the users of the

Defendants’ Pelvic Mesh Products, and that they were inherently dangerous in a manner that

exceeded any purported, inaccurate, or otherwise downplayed warnings.

               129.    In reliance upon these false representations, Plaintiffs were induced to, and

did use the Pelvic Mesh Products, thereby sustaining severe and permanent personal injuries and

damages. Defendants knew or had reason to know that Plaintiffs and their physicians and other

healthcare providers had no way to determine the truth behind Defendants’ concealment and

omissions, and that these included material omissions of facts surrounding the use of the

Defendants’ Pelvic Mesh Products, as described in detail herein.

               130.    Plaintiffs reasonably relied on revealed facts which foreseeably and

purposefully suppressed and concealed facts that were critical to understanding the real dangers

inherent in the use of the Defendants’ Pelvic Mesh Products.

               131.    Having knowledge based upon Defendants’ research and testing, or lack

thereof, Defendants blatantly and intentionally distributed false information, including but not

limited to assuring Plaintiffs, the public, and Plaintiffs’ healthcare providers and physicians, that

the Defendants’ Pelvic Mesh Products were safe for use as a means of providing relief from

stress urinary incontinence and/or prolapse and were as safe or safer than other products and/or

procedures available and on the market. As a result of Defendants’ research and testing, or lack




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thereof, Defendants intentionally omitted, concealed and suppressed certain results of testing and

research to healthcare professionals, Plaintiffs, and the public at large.

               132.     Defendants had a duty when disseminating information to the public to

disseminate truthful information; and a parallel duty not to deceive the public, Plaintiffs,

Plaintiffs’ healthcare providers, and the United States Food and Drug Administration (“FDA”).

               133.     The information distributed to the public, the medical community, the

FDA, and Plaintiffs, by Defendants included, but was not limited to websites, information

presented at medical and professional meetings, information disseminated by sales

representatives to physicians and other medical care providers,              reports, press releases,

advertising campaigns, television commercials, print advertisements, billboards and other

commercial media containing material representations, which were false and misleading, and

contained omissions and concealment of the truth about the dangers of the use of the Defendants’

Pelvic Mesh Products.

               134.     Defendants intentionally made material misrepresentations to the medical

community and public, including Plaintiffs, regarding the safety of the Defendants’ Pelvic Mesh

Products specifically that the Products did not have dangerous and/or serious adverse health

safety concerns, and that the Defendants’ Pelvic Mesh Products were as safe or safer than other

means of treating stress urinary incontinence and/or prolapse.

               135.     Defendants intentionally failed to inform the public, including Plaintiffs,

of the high failure rate including erosion, the difficulty or impossibility of removing the mesh,

and the risk of permanent injury.

               136.     Defendants chose to over-promote the purported safety, efficacy and

benefits of the Defendants’ Pelvic Mesh Products instead.



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               137.     Defendants’ intent and purpose in making these misrepresentations was to

deceive and defraud the public, the medical community, and Plaintiffs; to gain the confidence of

the public, the medical community, and Plaintiffs; to falsely assure them of the quality and

fitness for use of the Products; and induce Plaintiffs, the public and the medical community to

request, recommend, prescribe, dispense, purchase, and continue to use the Defendants’ Pelvic

Mesh Products.

               138.     Defendants made claims and representations in its documents submitted to

the FDA and its reports to the public and to healthcare professionals and in advertisements that

the Defendants’ Pelvic Mesh Products had innovative beneficial properties and did not present

serious health risks.

               139.     These representations, and others made by Defendants, were false when

made and/or were made with the pretense of actual knowledge when such knowledge did not

actually exist, and were made recklessly and without regard to the true facts.

               140.     These representations, and others made by Defendants, were made with

the intention of deceiving and defrauding Plaintiffs, Plaintiffs’ healthcare professionals and other

members of the healthcare community, and were made in order to induce Plaintiffs, and their

respective healthcare professionals, to rely on misrepresentations, and caused Plaintiffs to

purchase, rely, use, and request the Defendants’ Pelvic Mesh Products and their healthcare

professionals to dispense, recommend, or prescribe the Defendants’ Pelvic Mesh Products.

               141.     Defendants recklessly and/or intentionally falsely represented the

dangerous and serious health and safety concerns inherent in the use of the Defendants’ Pelvic

Mesh Products to the public at large, for the purpose of influencing the sales of products known

to be dangerous and defective, and/or not as safe as other alternatives.



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                142.    Defendants willfully and intentionally failed to disclose the truth, failed to

disclose material facts and made false representations, for the purpose of deceiving and lulling

Plaintiffs, as well as their healthcare professionals, into a false sense of security, so that Plaintiffs

and their healthcare providers would rely on Defendants’ representations, and Plaintiffs would

request and purchase the Defendants’ Pelvic Mesh Products, and that their healthcare providers

would dispense, prescribe, and recommend the Defendants’ Pelvic Mesh Products.

                143.    Defendants utilized direct-to-consumer advertising to market, promote,

and advertise the Defendants’ Pelvic Mesh Products.

                144.    At the time the representations were made, Plaintiffs and their healthcare

providers did not know the truth about the dangers and serious health and/or safety risks inherent

in the use of the Defendants’ Pelvic Mesh Products. Plaintiffs did not discover the true facts

about the dangers and serious health and/or safety risks, nor did Plaintiffs discover the false

representations of Defendants, nor would Plaintiffs with reasonable diligence have discovered

the true facts or Defendant’s misrepresentations.

                145.    Had Plaintiffs known the true facts about the dangers and serious health

and/or safety risks of the Defendants’ Pelvic Mesh Products, Plaintiffs would not have

purchased, used, or relied on Defendants’ Pelvic Mesh Products.

                146.    Defendants’ wrongful conduct constitutes fraud and deceit, and was

committed and perpetrated willfully, wantonly, and/or purposefully on Plaintiffs.

                147.    As a direct and proximate result of Defendants’ conduct, Plaintiffs

experienced significant mental and physical pain and suffering, have sustained permanent injury,

have undergone medical treatment and will likely undergo future medical treatment and




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procedures, have suffered financial or economic loss, including, but not limited to, obligations

for medical services and expenses, lost income, other damages, and death.

       WHEREFORE, Plaintiffs demand judgment against Defendants, and each of them,

individually, jointly, severally and in the alternative, and requests compensatory damages,

punitive damages, together with interest, costs of suit, attorneys’ fees, and such further relief as

the Court deems equitable and just.

                                            COUNT VII

                               FRAUDULENT CONCEALMENT

               148.     Plaintiffs incorporate by reference paragraphs 1-147 of this First Amended

Master Complaint as if fully set forth herein.

               149.     Plaintiffs from Alabama, Arizona, California, Colorado, Delaware,

Georgia, Illinois, Iowa, Kansas, Maine, Maryland, Michigan, Mississippi, Missouri, Nebraska,

New York, Oklahoma, Oregon, Pennsylvania, South Carolina, South Dakota, Tennessee, Utah,

Vermont, West Virginia and Wisconsin and any other states that recognize such a cause of action

bring this fraudulent concealment claim under the common law.

               150.     Throughout the relevant time period, Defendants knew that their Pelvic

Mesh Products were defective and unreasonably unsafe for their intended purpose.

               151.     Defendants fraudulently concealed from and/or failed to disclose to or

warn Plaintiffs, their physicians and the medical community that their Pelvic Mesh Products

were defective, unsafe, and unfit for the purposes intended, and that they were not of

merchantable quality.

               152.     Defendants were under a duty to Plaintiffs to disclose and warn of the

defective nature of the Products because:



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                  a) Defendants were in a superior position to know the true quality, safety and
                     efficacy of the Defendants’ Pelvic Mesh Products;

                  b) Defendants knowingly made false claims about the safety and quality of
                     the Defendants’ Pelvic Mesh Products in the documents and marketing
                     materials Defendants provided to the FDA, physicians, and the general
                     public; and

                  c) Defendants fraudulently and affirmatively concealed the defective nature
                     of the Defendants’ Pelvic Mesh Products from Plaintiffs.
               153. The facts concealed and/or not disclosed by Defendants to Plaintiffs were

material facts that a reasonable person would have considered to be important in deciding

whether or not to purchase and/or use the Defendants’ Pelvic Mesh Products.

               154.   Defendants intentionally concealed and/or failed to disclose the true

defective nature of the Products so that Plaintiffs would request and purchase the Defendants’

Pelvic Mesh Products, and that her healthcare providers would dispense, prescribe, and

recommend the Defendants’ Pelvic Mesh Products, and Plaintiffs justifiably acted or relied upon,

to her detriment, the concealed and/or non-disclosed facts as evidenced by her purchase of the

Defendants’ Pelvic Mesh Products.

               155.   Defendants, by concealment or other action, intentionally prevented

Plaintiffs and Plaintiffs’ physicians and other healthcare providers from acquiring material

information regarding the lack of safety and effectiveness of the Defendants’ Pelvic Mesh

Products, and are subject to the same liability to Plaintiffs for Plaintiffs’ pecuniary losses, as

though Defendants had stated the non-existence of such material information regarding the

Defendants’ Pelvic Mesh Products’ lack of safety and effectiveness and dangers and defects, and

as though Defendants had affirmatively stated the non-existence of such matters that Plaintiffs

were thus prevented from discovering the truth.        Defendants therefore have liability for




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fraudulent concealment under all applicable law, including, inter alia, Restatement (Second) of

Torts § 550 (1977).

               156.    As a proximate result of the Defendants’ conduct, Plaintiffs have been

injured, and sustained severe and permanent pain, suffering, disability, impairment, loss of

enjoyment of life, loss of care, comfort, and consortium, economic damages, and death.

       WHEREFORE, Plaintiffs demand judgment against Defendants, and each of them,

individually, jointly, severally and in the alternative, and requests compensatory damages,

punitive damages, together with interest, costs of suit, attorneys’ fees, and such further relief as

the Court deems equitable and just.

                                          COUNT VIII

                                   CONSTRUCTIVE FRAUD

               157.    Plaintiffs incorporate by reference paragraphs 1-156 of this First Amended

Master Complaint as if fully set forth herein.

               158.    Defendants are in a unique position of knowledge concerning the quality,

safety and efficacy of the Defendants’ Pelvic Mesh Products, which knowledge is not possessed

by Plaintiffs or their physicians, and Defendants thereby hold a position of superiority over

Plaintiffs and their physicians.

               159.    Despite their unique and superior knowledge regarding the defective

nature of the Defendants’ Pelvic Mesh Products, Defendants continue to suppress, conceal, omit,

and/or misrepresent information to Plaintiffs, the medical community, and/or the FDA,

concerning the severity of risks and the dangers inherent in the intended use of the Defendants’

Pelvic Mesh Products, as compared to other products and forms of treatment.




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                160.   For example, scientists in the recent study published in Obstetrics &

Gynecology, August, 2010, found that the complication rate was so high that the clinical trial was

halted early.

                161.   Defendants have concealed and suppressed material information,

including limited clinical testing, that would reveal that the Defendants’ Pelvic Mesh Products

had a higher risk of adverse effects, in addition to, and exceeding those associated with

alternative procedures and available devices. Instead, Defendants have misrepresented the safety

and efficacy of the Products.

                162.   Upon information and belief, Defendants’ misrepresentations are designed

to induce physicians and Plaintiffs to prescribe, dispense, recommend and/or purchase the

Defendants’ Pelvic Mesh Products. Plaintiffs and the medical community have relied upon

Defendants’ representations.

                163.   Defendants took unconscionable advantage of their dominant position of

knowledge with regard to Plaintiffs and their medical providers and engaged in constructive

fraud in their relationship with Plaintiffs and their medical providers. Plaintiffs reasonably relied

on Defendants’ representations.

                164.   As a proximate result of the Defendants’ conduct, Plaintiffs have been

injured, and sustained severe and permanent pain, suffering, disability, impairment, loss of

enjoyment of life, loss of care, comfort, and consortium, economic damages, and death.




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         WHEREFORE, Plaintiffs demand judgment against Defendants, and each of them,

individually, jointly, severally and in the alternative, and requests compensatory damages,

punitive damages, together with interest, costs of suit, attorneys’ fees, and such further relief as

the Court deems equitable and just.

                                           COUNT IX

                           NEGLIGENT MISREPRESENTATION

               165.    Plaintiffs incorporate by reference paragraphs 1-164 of this First Amended

Master Complaint as if fully set forth herein. Defendants had a duty to accurately and truthfully

represent to the medical and healthcare community, Plaintiffs, and the public, that the Pelvic

Mesh Products had not been adequately tested and found to be safe and effective for the

treatment of incontinence and prolapse. The representations made by Defendants, in fact, were

false.

               166.    Defendants failed to exercise ordinary care in the representations

concerning the Pelvic Mesh Products while they were involved in their manufacture, sale,

testing, quality assurance, quality control, and distribution in interstate commerce, because

Defendants negligently misrepresented the Pelvic Mesh Products’ high risk of unreasonable,

dangerous, adverse side effects.

               167.    Defendants breached their duty in representing that the Defendants’ Pelvic

Mesh Products have no serious side effects different from older generations of similar products

and/or procedures to Plaintiffs, Plaintiffs’ physicians, and the medical and healthcare

community.

               168.    As a foreseeable, direct and proximate result of the negligent

misrepresentation of Defendants as set forth herein, Defendants knew, and had reason to know,



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that the Pelvic Mesh Products had been insufficiently tested, or had not been tested at all, and

that they lacked adequate and accurate warnings, and that they created a high risk, and/or higher

than acceptable risk, and/or higher than reported and represented risk, of adverse side effects,

including, erosion, pain and suffering, surgery to remove the products, and other severe and

personal injuries, which are permanent and lasting in nature.

               169.    As a direct and proximate result of the Defendants’ conduct, Plaintiffs

have been injured, and sustained severe and permanent pain, suffering, disability, impairment,

loss of enjoyment of life, loss of care, comfort, and consortium, economic damages, and death.

       WHEREFORE, Plaintiffs demand judgment against Defendants, and each of them,

individually, jointly, severally and in the alternative, and requests compensatory damages,

punitive damages, together with interest, costs of suit, attorneys’ fees, and such further relief as

the Court deems equitable and just.

                                            COUNT X

                 NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

               170.    Plaintiffs incorporate by reference paragraphs 1-169 of this First Amended

Master Complaint as if fully set forth herein.

               171.    Defendants carelessly and negligently manufactured, designed, developed,

tested, labeled, marketed and sold the Defendants’ Pelvic Mesh Products to Plaintiffs, carelessly

and negligently concealing the harmful effects of the Defendants’ Pelvic Mesh Products from

Plaintiffs, and carelessly and negligently misrepresented the quality, safety and efficacy of the

products.

               172.    Plaintiffs were directly impacted by Defendants’ carelessness and

negligence, in that Plaintiffs have sustained and will continue to sustain emotional distress,



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severe physical injuries and/or death, economic losses, and other damages as a direct result of the

decision to purchase the Pelvic Mesh Products sold and distributed by Defendants.

               173.    As a direct and proximate result of the Defendants’ conduct, Plaintiffs

have been injured, and sustained severe and permanent pain, suffering, disability, impairment,

loss of enjoyment of life, loss of care, comfort, and consortium, economic damages, and death.

       WHEREFORE, Plaintiffs demand judgment against Defendants, and each of them,

individually, jointly, severally and in the alternative, and requests compensatory damages,

punitive damages, together with interest, costs of suit, attorneys’ fees, and such further relief as

the Court deems equitable and just.

                                           COUNT XI

                            BREACH OF EXPRESS WARRANTY

               174.    Plaintiffs incorporate by reference paragraphs 1-173 of this First Amended

Master Complaint as if fully set forth herein.

               175.    At all relevant and material times, Defendants manufactured, distributed,

advertised, promoted, and sold the Defendants’ Pelvic Mesh Products.

               176.    At all relevant times, Defendants intended that the Defendants’ Pelvic

Mesh Products be used in the manner that Plaintiffs in fact used them and Defendants expressly

warranted that each product was safe and fit for use by consumers, that each product was of

merchantable quality, that their side effects were minimal and comparable to other pelvic mesh

products, and that they were adequately tested and fit for their intended use.

               177.    At all relevant times, Defendants were aware that consumers, including

Plaintiffs, would use the Pelvic Mesh Products; which is to say that Plaintiffs were foreseeable

users of the Defendants’ Pelvic Mesh Products.



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              178.    Plaintiffs and/ or their implanting physicians were at all relevant times in

privity with Defendants.

              179.    The Defendants’ Pelvic Mesh Products were expected to reach and did in

fact reach consumers, including Plaintiffs and their implanting physicians, without substantial

change in the condition in which it was manufactured and sold by Defendants.

              180.    Defendants breached various express warranties with respect to the Pelvic

Mesh Products including the following particulars:

                  a) Defendants represented to Plaintiffs and their physicians and healthcare
                     providers through its labeling, advertising, marketing materials, detail
                     persons, seminar presentations, publications, notice letters, and regulatory
                     submissions that the Defendants’ Pelvic Mesh Products were safe and
                     fraudulently withheld and concealed information about the substantial
                     risks of serious injury and/or death associated with using the Pelvic Mesh
                     Products;

                  b) Defendants represented to Plaintiffs and their physicians and healthcare
                     providers that the Defendants’ Pelvic Mesh Products were as safe, and/or
                     safer than other alternative procedures and devices, that complications are
                     rare, and fraudulently concealed information, which demonstrated that the
                     Products were not safer than alternatives available on the market and that
                     complications were not, in fact, rare; and

                  c) Defendants represented to Plaintiffs and their physicians and healthcare
                     providers that the Defendants’ Pelvic Mesh Products were more
                     efficacious than other alternative medications and fraudulently concealed
                     information, regarding the true efficacy of the products.


              181.    In reliance upon Defendants’ express warranties, Plaintiffs were implanted

with the Defendants’ Pelvic Mesh Products as prescribed and directed, and therefore, in the

foreseeable manner normally intended, recommended, promoted, and marketed by Defendants.

              182.    At the time of making such express warranties, Defendants knew or

should have known that the Defendants’ Pelvic Mesh Products do not conform to these express

representations because the Defendants’ Pelvic Mesh Products were not safe and had numerous

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serious side effects, many of which are common and Defendants did not accurately warn about,

thus making the Defendants’ Pelvic Mesh Products unreasonably unsafe for their intended

purpose.

                183.    Members of the medical community, including physicians and other

healthcare professionals, as well as Plaintiffs and the Public relied upon the representations and

warranties of Defendants in connection with the use recommendation, description, and/or

dispensing of the Defendants’ Pelvic Mesh Products.

                184.    Defendants breached their express warranties to Plaintiffs in that the

Defendants’ Pelvic Mesh Products were not of merchantable quality, safe and fit for their

intended uses, nor were they adequately tested.

                185.    Defendants’ breaches constitute violations of common law principles and

the statutory provisions of the Plaintiffs’ respective states.

                186.    As a direct and proximate result of the Defendants’ conduct, Plaintiffs

have been injured, and sustained severe and permanent pain, suffering, disability, impairment,

loss of enjoyment of life, loss of care, comfort, and consortium, economic damages, and death.

        WHEREFORE, Plaintiffs demand judgment against Defendants, and each of them,

individually, jointly, severally and in the alternative, and requests compensatory damages,

punitive damages, together with interest, costs of suit, attorneys’ fees, and such further relief as

the Court deems equitable and just.

                                            COUNT XII

                             BREACH OF IMPLIED WARRANTY

                187.    Plaintiffs incorporate by reference paragraphs 1-186 of this First Amended

Master Complaint as if fully set forth herein.



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               188.    At all relevant and material times, Defendants manufactured, distributed,

advertised, promoted, and sold the Defendants’ Pelvic Mesh Products.

               189.    At all relevant times, Defendants intended that the Defendants’ Pelvic

Mesh Products be implanted for the purposes and in the manner those Plaintiffs or Plaintiffs’

implanting physicians in fact used they and Defendants impliedly warranted each product to be

of merchantable quality, safe and fit for such use, even though they were not adequately tested.

               190.    Defendants were aware that consumers, including Plaintiffs or Plaintiffs’

physicians, would implant the Defendants’ Pelvic Mesh Products in the manner directed by the

instructions for use; which is to say that Plaintiffs or Plaintiffs’ Decedents were foreseeable users

of the Defendants’ Pelvic Mesh Products.

               191.    Plaintiffs and/or their physicians were at all relevant times in privity with

Defendants.

               192.    The Defendants’ Pelvic Mesh Products were expected to reach and did in

fact reach consumers, including Plaintiffs or Plaintiffs’ physicians, without substantial change in

the condition in which they were manufactured and sold by Defendants.

               193.    Defendants breached various implied warranties with respect to the

Defendants’ Pelvic Mesh Products, including, but not limited to, the following particulars:

                       a) Defendants represented through their labeling, advertising, marketing
                          materials, detail persons, seminar presentations, publications, notice
                          letters, and regulatory submissions that the Defendants’ Pelvic Mesh
                          Products were safe and fraudulently withheld and concealed
                          information about the substantial risks of serious injury and/or death
                          associated with using the Pelvic Mesh Products;

                       b) Defendants represented that the Defendants’ Pelvic Mesh Products
                          were safe, and/or safer than other alternative devices or procedures and
                          that complications were rare, and fraudulently concealed information,
                          which demonstrated that the Defendants’ Pelvic Mesh Products were
                          not as safe or safer than alternatives available on the market; and

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                       c) Defendants represented that the Defendants’ Pelvic Mesh Products
                          were more efficacious than alternative pelvic mesh products and
                          procedures and fraudulently concealed information, regarding the true
                          efficacy of the Defendants’ Pelvic Mesh Products.


               194.    In reliance upon Defendants’ implied warranty, Plaintiffs used the Pelvic

Mesh Products as prescribed and in the foreseeable manner normally intended, recommended,

promoted, and marketed by Defendants.

               195.    Defendants breached their implied warranty to Plaintiffs in that the

Defendants’ Pelvic Mesh Products were not of merchantable quality, safe and fit for their

intended use, or adequately tested, in violation of Common Law principles and the statutory

provisions of the Plaintiffs’ respective states.

               196.    As a direct and proximate result of the Defendants’ conduct, Plaintiffs

have been injured, and sustained severe and permanent pain, suffering, disability, impairment,

loss of enjoyment of life, loss of care, comfort, and consortium, economic damages, and death.

       WHEREFORE, Plaintiffs demand judgment against Defendants, and each of them,

individually, jointly, severally and in the alternative, and requests compensatory damages,

punitive damages, together with interest, costs of suit, attorneys’ fees, and such further relief as

the Court deems equitable and just.

                                            COUNT XIII

                    VIOLATION OF CONSUMER PROTECTION LAWS

               197.    Plaintiffs incorporate by reference paragraphs 1-196 of this First Amended

Master Complaint as if fully set forth herein.




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               198.    Plaintiffs purchased and used the Defendants’ Pelvic Mesh Products

primarily for personal use and thereby suffered ascertainable losses as a result of Defendants’

actions in violation of the consumer protection laws.

               199.    Had Defendants not engaged in the deceptive conduct described herein,

Plaintiffs would not have purchased and/or paid for the Defendants’ Pelvic Mesh Products, and

would not have incurred related medical costs and injury.

               200.    Defendants engaged in wrongful conduct while at the same time

obtaining, under false pretenses, moneys from Plaintiffs for the Pelvic Mesh Products that would

not have been paid had Defendants not engaged in unfair and deceptive conduct.

               201.    Unfair methods of competition or deceptive acts or practices that were

proscribed by law, including the following:

                       a) Representing that goods or services have characteristics, ingredients,
                          uses benefits or quantities that they do not have;

                       b) Advertising goods or services with the intent not to sell them as
                          advertised; and,

                       c) Engaging in fraudulent or deceptive conduct that creates a likelihood
                          of confusion or misunderstanding.

               202.    Plaintiffs were injured by the cumulative and indivisible nature of

Defendants’ conduct.     The cumulative effect of Defendants’ conduct directed at patients,

physicians and consumers was to create demand for and sell the Defendants’ Pelvic Mesh

Products.   Each aspect of Defendants’ conduct combined to artificially create sales of the

Defendants’ Pelvic Mesh Products.

               203.    Defendants have a statutory duty to refrain from unfair or deceptive acts or

trade practices in the design, labeling, development, manufacture, promotion, and sale of the

Defendants’ Pelvic Mesh Products.

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                204.     Had Defendants not engaged in the deceptive conduct described above,

Plaintiffs would not have purchased and/or paid for the Products, and would not have incurred

related medical costs.

                205.     Defendants’ deceptive, unconscionable, or fraudulent representations and

material omissions to patients, physicians and consumers, including Plaintiffs, constituted unfair

and deceptive acts and trade practices in violation of the state consumer protection statutes listed

below.

                206.     Defendants’ actions, as complained of herein, constitute unfair

competition or unfair, unconscionable, deceptive or fraudulent acts, or trade practices in

violation of state consumer protection statutes, as listed below.

                207.     Defendants have engaged in unfair competition or unfair or deceptive acts

or trade practices or have made false representations in violation of the statutory provisions of

the Plaintiffs’ respective states.

                208.     Under the applicable statutes to protect consumers against unfair,

deceptive, fraudulent and unconscionable trade and business practices and false advertising,

Defendants are the suppliers, manufacturers, advertisers, and sellers, who are subject to liability

under such legislation for unfair, deceptive, fraudulent and unconscionable consumer sales

practices.

                209.     Defendants violated the statutes that were enacted in these states to protect

consumers against unfair, deceptive, fraudulent and unconscionable trade and business practices

and false advertising, by knowingly and falsely representing that the Defendants’ Pelvic Mesh

Products were fit to be used for the purpose for which they were intended, when in fact they




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were defective and dangerous, and by other acts alleged herein. These representations were

made in marketing and promotional materials.

                 210.   The actions and omissions of Defendants alleged herein are uncured or

incurable deceptive acts under the statutes enacted in the states to protect consumers against

unfair, deceptive, fraudulent and unconscionable trade and business practices and false

advertising.

                 211.   Defendants had actual knowledge of the defective and dangerous

condition of the Defendants’ Pelvic Mesh Products and failed to take any action to cure such

defective and dangerous conditions.

                 212.   Plaintiffs and the medical community relied upon Defendants’

misrepresentations and omissions in determining which product and/or procedure to undergo

and/or perform (if any).

                 213.   Defendants’ deceptive, unconscionable or fraudulent representations and

material omissions to patients, physicians and consumers, constituted unfair and deceptive acts

and practices.

                 214.   By reason of the unlawful acts engaged in by Defendants, and as a direct

and proximate result thereof, Plaintiffs have suffered ascertainable losses and damages.

                 215.   As a direct and proximate result of Defendants’ violations of the states’

consumer protection laws, Plaintiffs have sustained economic losses, injuries and other damages

and are entitled to statutory and compensatory damages in an amount to be proven at trial.

       WHEREFORE, Plaintiffs demand judgment against Defendants, and each of them,

individually, jointly, severally and in the alternative, and requests restitution and disgorgement of




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profits, together with interest, cost of suit, attorneys’ fees, and all such other and further relief as

this Court deems just and proper.

                                              COUNT XIV

                                        GROSS NEGLIGENCE

                216.       Plaintiffs incorporate by reference paragraphs 1-215 of this First Amended

Master Complaint as if fully set forth herein.

                217.       The wrongs done by Defendants were aggravated by the kind of malice,

fraud, and grossly negligent disregard for the rights of others, the public, and Plaintiffs for which

the law would allow, and which Plaintiffs will seek at the appropriate time under governing law

for the imposition of exemplary damages, in that Defendants’ conduct, including the failure to

comply with applicable Federal standards: was specifically intended to cause substantial injury to

Plaintiffs; or when viewed objectively from Defendants’ standpoint at the time of the conduct,

involved an extreme degree of risk, considering the probability and magnitude of the potential

harm to others, and Defendants were actually, subjectively aware of the risk involved, but

nevertheless proceeded with conscious indifference to the rights, safety, or welfare of others; or

included a material representation that was false, with Defendants, knowing that it was false or

with reckless disregard as to its truth and as a positive assertion, with the intent that the

representation is acted on by Plaintiffs.

                218.       Plaintiffs relied on the representation and suffered injury as a proximate

result of this reliance.

                219.       Plaintiffs therefore will seek to assert claims for exemplary damages at the

appropriate time under governing law in an amount within the jurisdictional limits of the Court.




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               220.   Plaintiffs also allege that the acts and omissions of named Defendants,

whether taken singularly or in combination with others, constitute gross negligence that

proximately caused the injuries to Plaintiffs. In that regard, Plaintiffs will seek exemplary

damages in an amount that would punish Defendants for their conduct and which would deter

other manufacturers from engaging in such misconduct in the future.

       WHEREFORE, Plaintiffs demand judgment against Defendants, and each of them,

individually, jointly, severally and in the alternative, and requests compensatory damages,

together with interest, costs of suit, attorneys’ fees, and such further relief as the Court deems

equitable and just.

                                          COUNT XV

                                   UNJUST ENRICHMENT

               221.   Plaintiffs incorporate by reference paragraphs 1-220 of this First Amended

Master Complaint as if fully set forth herein. Defendants are and at all times relevant were the

manufacturers, sellers, and/or suppliers of the Defendants’ Pelvic Mesh Products.

               222.   Plaintiffs paid for the Defendants’ Pelvic Mesh Products for the purpose

of treatment of stress urinary incontinence and/ or pelvic organ prolapse or other similar

conditions.

               223.   Defendants have accepted payment by Plaintiffs and others on Plaintiffs’

behalf for the purchase of the Defendants’ Pelvic Mesh Products.

               224.   Plaintiffs have not received the safe and effective medical devices for

which they paid.

               225.   It would be inequitable for Defendants to keep this money since Plaintiffs

did not in fact receive a safe and effective medical device as represented by Defendants



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           WHEREFORE, Plaintiffs demand judgment against Defendants, and each of them,

individually, jointly, severally and in the alternative, and requests compensatory damages,

together with interest, costs of suit, attorneys’ fees, and such further relief as the Court deems

equitable and just.

                                           COUNT XVI

                                    LOSS OF CONSORTIUM

                 226.   Plaintiffs incorporate by reference paragraphs 1-225 of this First Amended

Master Complaint as if fully set forth herein.

                 227.   At all relevant times hereto, Plaintiffs had spouses (hereafter referred to as

“Spouse Plaintiffs”) and/or family members (hereafter referred to as “Family Member

Plaintiffs”) who have suffered injuries and losses as a result of the Pelvic Mesh Products and

Plaintiffs’ injuries.

                 228.   For the reasons set forth herein, Spouse Plaintiffs and/or Family Member

Plaintiffs have necessarily paid and have become liable to pay for medical aid, treatment,

monitoring, medications, and other expenditures and will necessarily incur further expenses of a

similar nature in the future as a proximate result of Defendants’ misconduct.

                 229.   For the reasons set forth herein, Spouse Plaintiffs and/or Family Member

Plaintiffs have suffered and will continue to suffer the loss of their loved one’s support,

companionship, services, society, love and affection.

                 230.   For all Spouse Plaintiffs, Plaintiffs allege that their marital relationship

was impaired and depreciated, and the marital association between husband and wife has been

altered.




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               231.    Spouse Plaintiffs and/or Family Member Plaintiffs have suffered great

emotional pain and mental anguish.

               232.    As a direct and proximate result of Defendants’ wrongful conduct, Spouse

Plaintiffs, Family Member Plaintiffs, and/or intimate partners of the aforesaid women, have

sustained and will continue to sustain severe physical injuries, severe emotional distress,

economic losses and other damages for which they are entitled to compensatory and equitable

damages and declaratory relief in an amount to be proven at trial. Defendants are liable to

Spouse Plaintiffs, Family Member Plaintiffs, and intimate partners jointly and severally for all

general, special and equitable relief to which Spouse Plaintiffs, Family Member Plaintiffs, and

intimate partners are entitled by law.

       WHEREFORE, Plaintiffs demand judgment against Defendants, and each of them,

individually, jointly, severally and in the alternative, and requests compensatory damages,

together with interest, costs of suit, attorneys’ fees, and such further relief as the Court deems

equitable and just.

                                          COUNT XVII

                                     PUNITIVE DAMAGES

               233.    Plaintiffs incorporate by reference paragraphs 1-232 of this First Amended

Master Complaint as if fully set forth herein.

               234.    Defendants sold their Products to Plaintiffs’ healthcare providers and other

healthcare providers throughout the United States without doing adequate testing to ensure that

the Products were reasonably safe for implantation in the female pelvic area.

               235.    Defendants sold the Products to Plaintiffs’ health care providers and other

health care providers throughout the United States in spite of their knowledge that their Products



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can shrink, disintegrate and/or degrade inside the body, and cause the other problems heretofore

set forth in this First Amended Master Complaint, thereby causing severe and debilitating

injuries suffered by the Plaintiffs.

                236.    At all times relevant hereto, Defendants knew or should have known that

the Defendants’ Pelvic Mesh Products were inherently dangerous with respect to the risks of

erosion, failure, pain and suffering, loss of life’s enjoyment, remedial surgeries and treatments in

an effort to cure the conditions proximately related to the use of the product, as well as other

severe and personal injuries which are permanent and lasting in nature.

                237.    At all times material hereto, Defendants attempted to misrepresent and did

misrepresent facts concerning the safety of the Defendants’ Pelvic Mesh Products.

                238.    Defendants’ misrepresentations included knowingly withholding material

information from the medical community and the public, including Plaintiffs, concerning the

safety and efficacy of the Defendants’ Pelvic Mesh Products.

                239.    At all times material hereto, Defendants knew and intentionally and/or

recklessly disregarded the fact that the Defendants’ Pelvic Mesh Products cause debilitating and

potentially lethal side effects with greater frequency than safer alternative methods products

and/or procedures and/or treatment.

                240.    At all times material hereto, Defendants knew and intentionally and/or

recklessly disregarded the fact that the Defendants’ Pelvic Mesh Products cause debilitating and

potentially lethal side effects with greater frequency than safer alternative products and/or

methods of treatment and recklessly failed to advise healthcare providers, the public and the

FDA of same.




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               241.    At all times material hereto, Defendants intentionally misstated and

misrepresented data and continue to misrepresent data so as to minimize the true and accurate

risk of injuries and complications caused by the Defendants’ Pelvic Mesh Products.

               242.    Notwithstanding the foregoing, Defendants continue to aggressively

market the Defendants’ Pelvic Mesh Products to consumers, without disclosing the true risk of

side effects and complications.

               243.    Defendants knew of the Defendants’ Pelvic Mesh Products defective and

unreasonably dangerous nature, but continued to manufacture, produce, assemble, market,

distribute, and sell the Defendants’ Pelvic Mesh Products so as to maximize sales and profits at

the expense of the health and safety of the Public, including Plaintiffs, in conscious and/or

reckless disregard of the foreseeable harm caused by the Defendants’ Pelvic Mesh Products.

               244.    Defendants continue to intentionally conceal and/or recklessly and/or

grossly negligently fail to disclose to the public, including Plaintiffs, the serious side effects of

the Defendants’ Pelvic Mesh Products in order to ensure continued and increased sales.

               245.    Defendants’ intentionally, reckless and/or grossly negligent failure to

disclose information deprived Plaintiffs of necessary information to enable them to weigh the

true risks of using the Defendants’ Pelvic Mesh Products against their benefits.

               246.    As a direct and proximate result of the foregoing acts and omissions,

Plaintiffs have required and will require health care and services, and have incurred medical,

health care, incidental, and related expenses. Plaintiffs are informed and believe and further

allege that Plaintiffs will in the future be required to obtain further medical care and/or hospital

care and medical services.




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                247.     Defendants have engaged in conduct entitling Plaintiffs to an award of

punitive damages pursuant Common Law principles and the statutory provisions of the

Plaintiffs’ respective states.

                248.     Defendants’ conduct as described herein shows willful misconduct,

malice, fraud, wantonness, oppression, or that entire want of care which raises the presumption

of conscious indifference to consequences, thereby justifying an award of punitive damages.

        WHEREFORE, Plaintiffs demand judgment against Defendants, and each of them,

individually, jointly, severally and in the alternative, and requests compensatory damages,

together with interest, costs of suit, attorneys’ fees, punitive damages, and such further relief as

the Court deems equitable and just.

                       COUNT XVIII: DISCOVERY RULE AND TOLLING

                249.     Plaintiffs incorporate by reference paragraphs 1-248 of this First Amended

Master Complaint as if fully set forth herein.

                250.     Plaintiffs assert all applicable state statutory and common law rights and

theories related to the tolling or extension of any applicable statute of limitations, including

equitable tolling, class action tolling, delayed discovery, discovery rule, and fraudulent

concealment.

                251.     Plaintiffs plead that the discovery rule should be applied to toll the running

of the statute of limitations until Plaintiffs knew, or through the exercise of reasonable care and

diligence should have known, of facts indicating that Plaintiffs had been injured, the cause of the

injury, and the tortious nature of the wrongdoing that caused the injury.

                252.     Despite diligent investigation by Plaintiffs into the cause of their injuries,

including consultations with Plaintiffs’ medical providers, the nature of Plaintiffs’ injuries and



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damages, and their relationship to the Products was not discovered, and through reasonable care

and due diligence could not have been discovered, until a date within the applicable statute of

limitations for filing Plaintiffs’ claims. Therefore, under appropriate application of the discovery

rule, Plaintiffs’ suit was filed well within the applicable statutory limitations period.

               253.    The running of the statute of limitations in this cause is tolled due to

equitable tolling. Defendant(s) are estopped from asserting a statute of limitations defense due to

Defendants’ fraudulent concealment, through affirmative misrepresentations and omissions, from

Plaintiffs and Plaintiffs’ physicians of the true risks associated with the Products. As a result of

Defendants’ fraudulent concealment, Plaintiffs and Plaintiffs’ physicians were unaware, and

could not have known or have learned through reasonable diligence that Plaintiffs had been

exposed to the risks alleged herein and that those risks were the direct and proximate result of the

wrongful acts and omissions of the Defendant(s).

                                     V. PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs demand judgment against Defendants, and each of them,

individually, jointly and severally and requests compensatory damages, together with interest,

cost of suit, attorneys’ fees, and all such other relief as the Court deems just and proper as well

as:

               1. Compensatory damages to Plaintiffs for past, present, and future damages,
                  including, but not limited to, pain and suffering for severe and permanent
                  personal injuries sustained by Plaintiffs, health and medical care costs,
                  together with interest and costs as provided by law;

               2. Restitution and disgorgement of profits;

               3. Reasonable attorneys’ fees;

               4. The costs of these proceedings;

               5. All ascertainable economic damages;

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             6. Punitive damages;

             7. Survival damages (if applicable);

             8. Wrongful death damages (if applicable); and

             9. Such other and further relief as this Court deems just and proper.




Dated: August 31, 2012


                                    Respectfully submitted,




                                    /s/ D. Renee Baggett


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                                  DEMAND FOR JURY TRIAL

Plaintiffs hereby demand a trial by jury as to all issues.

                                        Respectfully submitted,



Dated: August 31, 2012
                                        /s/ D. Renee Baggett

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